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INMUNo vITAL, INC. Case No. 99-1876 CIV-l\/r@)‘o‘itr} - Hl
Plaintiff, Magistrate Judge O’Sullivan

V.

TELEMUNDO GROUP, INC., a Delaware
corporation; TELEMUNDO HOLDINGS, INC.
a Delaware corporation; TLMD STATION
GROUP, INC., a Delaware corporation, and
TELEMUNDO NETWORK GROUP LLC, a
Delaware limited liability company,

Defendants.

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INMUNO’S MOTION FOR NON-JURY TRlAL ON DAMAGES

Plaintiff, Inmuno Vital, lnc. (“lnmuno”), by and through its undersigned counsel, hereby
files its Motion for Non-Jury Trial on Damages and states as follows:

lnmuno’s Complaint against defendants Telemundo Group, lnc., Telemundo Holdings,
lnc., TMLD Station Group, lnc., and Telemundo Network Group LLC (collectively
“Telemundo”) did not request a jury trial. However, this Court granted lnmuno’s subsequent
Motion allowing lnmuno to present its claims to a jury.

However, Inmuno is now compelled to reverse itself due to this Court’s October 1, 2001
Omnibus Order and October 2, 2001 Order striking Telemundo’s pleadings and ordering a trial
on damages only. lnmuno now seeks a bench trial on damages because Telemundo is no longer
entitled to ajury trial after its pleadings have been stricken.

The effect of striking pleadings and rendering judgment for lnmuno on the issue of
liability is that of a default judgment As such, Telemundo "admits the plaintiffs well-pleaded

allegations of fact, is concluded on those facts by the judgment, and is barred from contesting on

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appeal the facts thus established.” Buchanan v. Bowman, 820 F.2d 359, 361-2 (11th Cir. 1987).
Similarly, “a default judgment generally precludes trial of the facts except as to damages.”
Adrl`a)za 111[ 'l Corp. v. Thoe)'en, 913 F.2d 1406, 1414 (9Ih Cir. 1990);N1`shimatsu Const. Co., le.
v. Houslon Nat’l Bank, 515 F.2d 1200, 1206 (Sth Cir. 1975); Chemtall, Inc. v. Citi-Chem, lnc.,
992 F. Supp. 1390, 1412-3 (S.D. Ga. 1998); Patray v. Northwest Pub. Co., 931 F. Supp. 865,
869-70 (S.D. Ga. 1996); Sales v. Republl`c of Uganda, 828 F. Supp. 1032, 1308 (S.D.N.Y. 1993).
Likewise, a defendant is not held to admit facts that are not well pleaded. Patray, 931 F. Supp.
at 869; see also Wahl v. McIver, 773 F.2d 1169, 1172-3 (11th Cir. 1985).

Although this issue has apparently not been decided by the Eleventh Circuit, other courts,
notably the Ninth, First, and Fifth Circuits, have held that “after a default judgment has been
entered under Fed. R. Civ. P. 37(b)(2), a party has no right to a jury trial under either Fed. R.
Civ. P.- 55(b)(2), which authorizes a district court to hold an evidentiary hearing to determine the
amount of damages, or the Seventh Amendment.” Adrz`ana, 913 F.2d at 1414; Bonilla v. Trebel
Motors Corp., 150 F.3d 77, 82-3 (1Sl Cir. 1998); J0)'1es v. Wl')mepesaukee Realty, 990 F.2d l, 4
(15‘ Cir. 1993); In re Dl`erschke, 975 F.2d 181, 185 (5th Cir. 1992); Henry v. Snez`ders, 490 F.2d
315, 318 (9th Cir. 1974); Meyers v. Lakeland Supply, Inc., 133 F. Supp.2d 1118, 1119 (E.D. Wis.
2001); Benz v. Skiba, Skiba & Glomskl`, 164 F.R.D. 115, 116 (D. Me. 1995); Frankart Distr. v.
Levitz, 796 F. Supp. 75, 76-77 (E.D.N.Y. 1992); GulfOil Corp. v. Bill’s Farm Cenler, 52 F.R.D.
114, 119 (W.D. Mo. 1970). (emphasis added).

Adriana and Gqu Ol`l are of particular relevance because those cases involved defaults

under Rule 37 due to discovery violations. Aa'riana, 913 F.2d at 1414; Gulf Oz'l, 52 F.R.D. at

119. Furthermore, after a default has been entered, the trial judge has “considerable latitude in

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determining the amount of damagcs.” Jones, 990 F.2d at 4.1 lndeed, a party to whom a default
has been entered is prohibited from introducing evidence that relates to liability under the guise
of damage mitigation. Greyhouna’ Exhz`bitgroup, Inc. v. E.L.U.L. Realty Corp., 973 F.2d 155,
160 (2d Cir. 1992).

The District of Columbia Circuit appears to be the lone dissenter, having held in an older
case that “the better practice” is to submit the issue of damages to the jury. Barber v.
Turberville, 218 F.2d 34, 37 (D.C. Cir. 1954). However, Barber is distinguishable because the
trial court did not make a finding that the right to jury trial on damages is non-existent under the
Seventh Amendment following a default. Id. In contrast, the case law cited above
overwhelmingly holds that there is no Seventh Amendment right to a jury trial on damages after
pleadings have been stricken or if a default has been entered. Aa'riana, 913 F.2d at 1414;
Bonl'lla, 150 F.3d at 82-3; Jo)zes, 990 F.2d l, 4 (lSt Cir. 1993);111 re Dierschke, 975 F.2d at 185;
Henry, 490 F.2d at 318 (9th Cir. 1974); Meyers, 133 F. Supp.2d at 1119; Benz, 164 F.R.D. at 116;
Frankart, 796 F. Supp. at 76-77; GulfOil Corp., 52 F.R.D. at 119.

Given the prevailing case law, in particular Aa'riana and Gulf Oz`l, it is apparent that
Telemundo no longer has any right to jury trial. Therefore, this Court should grant lnmuno’s
Motion and hold a bench trial on damages,

Wherefore, Plaintiff, lnmuno Vital, lnc. respectfully requests this Court to hold an non-

jury evidentiary hearing to determine damages in this cause.

 

l Jones involved a default rendered under Rule 55, which authorizes the entry of defaults for failures to
respond to pleadings or for failures to prosecute. Jones, 990 F.2d at 4.

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Respectfully submitted,

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CERTIFICATE OF SERVICE

 

I HEREBY CERTIFY that a true and correct copy of the foregoing served by facsimile
and U. S. mail this b/ day ofOctober 2001 to:

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